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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION
____________________________________
                                    )
SIERRA CLUB INC., et al.            )
                                    )
           Plaintiffs,              )
                                    )         Case No.: 4:04CV120-SPM/AK
v.                                  )
                                    )
JOHNSON, et al.,                    )
                                    )
           Defendants.              )
________________________________)____


                   ORDER GRANTING JOINT MOTION TO STAY

     THIS CAUSE comes before the Court upon the “Joint Motion for Stay” (doc.

128). For good cause shown, it is hereby ORDERED AND ADJUDGED as follows:

     1.    The motion to stay (doc. 128) is granted.

     2.    This case is stayed until April 30, 2008.

     3.    The parties shall file a status report with this Court on or before April 30,

           2008.

     DONE AND ORDERED this twenty-sixth day of March, 2008.




                                   s/ Stephan P. Mickle
                                Stephan P. Mickle
                                United States District Judge
